                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE


RENA JOHNSON,                                             Civil Case No.: 18-0278

        Plaintiff,

vs.


OCWEN LOAN SERVICING, LLC,

        Defendant.




                                CERTIFICATE OF SERVICE

 I hereby certify that, on May 15, 2018, I caused a copy of Plaintiff’s First Amended
 Complaint (Docket Entry 9) to be sent to counsel of record below via ECF only :

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                                                   ____s/ T. Blaine Dixon
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